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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:06CR383
                              )
          v.                  )
                              )
LUIS CASTELLANOS-ORTIZ,       )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue sentencing hearing (Filing No. 31).                The Court notes

plaintiff has no objection.         Accordingly,

           IT IS ORDERED that the sentencing hearing is

rescheduled for:

                Thursday, July 26, 2007, at 11 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 29th day of June, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
